              Case 8:19-cv-01869-PSG-JDE Document 6-2 Filed 09/30/19 Page 1 of 15 Page ID #:64



                       1   Benjamin M. Gipson (CA SBN: 222830)
                           ben.gipson@us.dlapiper.com
                       2   Hector E. Corea (CA SBN: 318971)
                           hector.corea@us.dlapiper.com
                       3   DLA PIPER LLP
                           2000 Avenue of the Stars, Suite 400 North Tower
                       4   Los Angeles, California 90067-4704
                           Tel: 310.595.3022
                       5   Fax: 310.595.3300
                       6   Attorneys for Plaintiff
                           ALATUS AEROSYSTEMS, a
                       7   California Corporation
                       8                           UNITED STATES DISTRICT COURT
                       9                         CENTRAL DISTRICT OF CALIFORNIA
                      10
                      11   ALATUS AEROSYSTEMS, a                  CASE NO. 19-cv-1869
                           California corporation,
                      12                                           DECLARATION OF BENJAMIN M.
                                          Plaintiff,               GIPSON IN SUPPORT OF
                      13                                           PLAINTIFF’S APPLICATION FOR
                                  v.                               TEMPORARY RESTRAINING
                      14                                           ORDER AND ORDER TO SHOW
                           MARIO VELAZQUEZ, an individual,         CAUSE WHY A PRELIMINARY
                      15   and DOES 1 through 50, inclusive        INJUNCTION SHOULD NOT
                                                                   ISSUE
                      16
                                          Defendants.              Date: To Be Determined
                      17                                           Time: To Be Determined
                                                                   Courtroom: To Be Determined
                      18                                           Judge: To Be Determined
                      19
                      20
                      21
                      22
                      23
                      24
                      25
                      26
                      27
                      28
FNC R K RGT! NNR )WU*
     NQU!C PI GN GU        WEST\287795123.6
                           DECLARATION OF BENJAMIN GIPSON IN SUPPORT OF APPLICATION FOR TRO
              Case 8:19-cv-01869-PSG-JDE Document 6-2 Filed 09/30/19 Page 2 of 15 Page ID #:65



                       1         I, Benjamin M. Gipson, declare as follows:
                       2         1.     I am an attorney at law licensed to practice before all courts of the state
                       3   of California. I am a partner with the firm of DLA Piper LLP (“DLA”), counsel of
                       4   record for Alatus Aerosystems (“Alatus”). The matters stated below are true and of
                       5   my own personal knowledge, and if called as a witness, I could and would
                       6   competently testify to the same.
                       7         2.     Defendant Mario Velazquez is a former employee of Alatus whose
                       8   employment was terminated in February 2019. Alatus subsequently engaged DLA
                       9   as counsel to investigate whether Defendant Velazquez complied with his
                      10   employment obligations leading up to his exit from the company.
                      11         3.     As part of the investigation, DLA conducted a forensic examination of
                      12   Velazquez’s company account. This led to the discovery that Defendant Velazquez
                      13   had purposely emailed at least ten sensitive company documents containing Alatus’
                      14   trade secrets to his personal email address within a day before his termination. True
                      15   and correct copies of Mr. Velazquez’s emails forwarding several of these sensitive
                      16   documents to his personal email address are attached hereto as Exhibit A.
                      17         4.     Counsel for Alatus subsequently demanded the return of these
                      18   confidential documents in August and September 2019. In response, Defendant
                      19   Velazquez returned approximately seven documents, claiming he had returned all of
                      20   Alatus’ proprietary information in his possession. Velazquez’s statements were
                      21   plainly misleading given Alatus identified the documents Velazquez had emailed
                      22   himself and it was readily apparent all these documents were not returned. Further,
                      23   Velazquez’s counsel has refused requests to have a neutral third party inspect his
                      24   client’s personal computer to confirm that he is not in possession of additional Alatus
                      25   information and determine who else may have received those documents. Attached
                      26   hereto as Exhibit B is a true and correct copy of correspondence received from
                      27   Defendant Velazquez’s counsel showing he returned six of the eight documents that
                      28   emailed to himself.
DLA P I PER LLP (US)                                                 -1-
     LOS A NG EL ES
                           DECLARATION OF BENJAMIN GIPSON IN SUPPORT OF APPLICATION FOR TRO
              Case 8:19-cv-01869-PSG-JDE Document 6-2 Filed 09/30/19 Page 3 of 15 Page ID #:66



                       1         5.      Because these attempts appeared to have failed, I notified Defendant
                       2   Velazquez’s counsel of the filing and that Alatus would be seeking a temporary
                       3   restraining order with this Court.      Defendant through his counsel denies any
                       4   wrongdoing.       Through counsel Defendant Velazquez provided additional
                       5   information, and agreed to the inspection of his personal computer in exchange for
                       6   the global resolution of all disputes between the parties that involved Plaintiff making
                       7   a settlement payment to Defendant Velazquez. The parties were unable to reach
                       8   agreement on a final document that provided an inspection sufficient for Alatus to
                       9   verify Defendant Velazquez’s representations. Accordingly, on September 29 I
                      10   notified Velazquez’s counsel that Alatus would be filing the instant action and would
                      11   be seeking a temporary restraining order on that date due to the Parties failure to
                      12   reach a final agreement. Because Defendant Velazquez’s counsel stated that he
                      13   would not be representing him in the instant action, service was directed at Defendant
                      14   Velazquez directly and I attempted to notify him personally as well prior to filing.
                      15         I declare under penalty of perjury under the laws of the United States of
                      16   America that the above is true and correct, and that this was executed on
                      17   September 30, 2019, at Los Angeles, California.
                      18
                      19
                                                                   By:/s/Benjamin M. Gipson
                      20                                              BENJAMIN M. GIPSON
                      21
                      22
                      23
                      24
                      25
                      26
                      27
                      28
DLA P I PER LLP (US)
     LOS A NG EL ES                                                  -2-
                            DECLARATION OF BENJAMIN GIPSON IN SUPPORT OF APPLICATION FOR TRO
Case 8:19-cv-01869-PSG-JDE Document 6-2 Filed 09/30/19 Page 4 of 15 Page ID #:67




                  EXHIBIT "A"
To:
      Case 8:19-cv-01869-PSG-JDE Document 6-2 Filed 09/30/19 Page 5 of 15 Page ID #:68
          'Mario VelazquezImario.velazquez@live.com]
From:     Mario A. Velazquez[/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=41BODAD935044D4DBCD4BF11EC8913696-MAVELAZQUEZ]
Sent:     Tue 2/19/2019 5:24:42 PM (UTC)
Subject: Global Asset List.xlsx
Global Asset List.xlsx
       Case 8:19-cv-01869-PSG-JDE Document 6-2 Filed 09/30/19 Page 6 of 15 Page ID #:69
To:        'Mario VelazquezImario.velazquez@live.com]
From:      Mario A. Velazquez[/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=41BODAD935044D4DBCD4BF11EC89B696-MAVELAZQUEZ]
Sent:      Tue 2/19/2019 9:17:47 PM (UTC)
Subject: Special
Special xlsx



 Thank you,




  ALATUS
 Mario Velazquez I Production Control Manager
 17055 East Gale Ave., City of Industry, CA 91745
 Office: 626-839-2042 I Mobile: 626-213-8845
      Case 8:19-cv-01869-PSG-JDE Document 6-2 Filed 09/30/19 Page 7 of 15 Page ID #:70
To:      'Mario VelazquezImario.velazquez@live.com]
From:    Mario A. Velazquez[/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=41BODAD935044D4DBCD4BF11EC89B696-MAVELAZQUEZ]
Sent:    Tue 2/19/2019 9:29:52 PM (UTC)
Subject: G500-G600.xlsx
G500-G600.xlsx
        Case 8:19-cv-01869-PSG-JDE Document 6-2 Filed 09/30/19 Page 8 of 15 Page ID #:71
To:       'Mario VelazquezImario.yelazquez@liye.com]
From:     Mario A. Velazquez[/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=41BODAD935044D4DBCD4BF11EC89B696-MAVELAZQUEZ]
Sent:     Tue 2/19/2019 9:23:51 PM (UTC)
Subject: Actual VS Standards
Actual vs Standards - E -.,



  Thank you,




  iWU
  Mario Velazquez I Production Control Manager
  17055 East Gale Ave., City of Industry, CA 91745
  Office: 626-839-2042 I Mobile: 626-213-8845
To:     Case   8:19-cv-01869-PSG-JDE Document 6-2 Filed 09/30/19 Page 9 of 15 Page
         'Mario Velazquez'[mario.velazquez@live.com]
                                                                                     ID #:72
From:    Mario A. Velazquez[/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=41BODAD935044D4DBCD4BF11EC89B696-MAVELAZQUEZ]
Sent:    Tue 2/19/2019 9:21:09 PM (UTC)
Subject: WIP
Demand - Part Number - Raw Material - WIP.xlsx



 Thank you,




  ALATUS
 Mario Velazquez I Production Control Manager
 17055 East Gale Ave., City of Industry, CA 91745
 Office: 626-839-2042 I Mobile: 626-213-8845
       Case 8:19-cv-01869-PSG-JDE Document 6-2 Filed 09/30/19 Page 10 of 15 Page ID #:73
To:        'Mario Velazquezimano.velazquez@liye.com]
From:      Mario A. Velazquez[/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=41BODAD935044D4DBCD4BF11EC89B696-MAVELAZQUEZ]
Sent:      Tue 2/19/2019 9:20:12 PM (UTC)
Subject: East OTD
Special - East OTD%.xlsx




  Thank you,




   bik
  ALATUS
 Mario Velazquez I Production Control Manager
  7055 East Gale Ave., City of Industry, CA 91745
 Office: 626-839-2042 I Mobile: 626-213-8845
      Case 8:19-cv-01869-PSG-JDE Document 6-2 Filed 09/30/19 Page 11 of 15 Page ID #:74
To:      'Mario VelazguezImano.velazquez@live.corn]
From:    Mario A. Velazquez[/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=41BODAD935044D4DBCD4BF11EC8913696-MAVELAZQUEZ]
Sent:    Tue 2/19/2019 919:21 PM (UTC)
Subject: WIP Aging
WIP Aging Reoort.xlsx



 Thank you,




   ,g&
  ALATUS
 Mario Velazquez I Production Control Manager
 17055 East Gale Ave., City of Industry, CA 91745
 Office: 626-839-2042 I Mobile: 626-213-8845
To:     Case  8:19-cv-01869-PSG-JDE
         'Mario                             Document 6-2 Filed 09/30/19 Page 12 of 15 Page
                VelazquezImario.yelazquez@liye.com]
                                                                                             ID #:75
From:    Mario A. Velazquez[/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=41BODAD935044D4DBCD4BF11EC8913696-MAVELAZQUEZ]
Sent:    Tue 2/19/2019 9:19:18 PM (UTC)
Subject: TAS Special
TAS DASHBOARD.xlsx



  Thank you,




  ALATUS
  Mario Velazquez I Production Control Manager
  17055 East Gale Ave., City of Industry, CA 91745
  Office 626-839-2042 I Mobile: 626-213-8845
Case 8:19-cv-01869-PSG-JDE Document 6-2 Filed 09/30/19 Page 13 of 15 Page ID #:76




                   EXHIBIT "B"
Case 8:19-cv-01869-PSG-JDE Document 6-2 Filed 09/30/19 Page 14 of 15 Page ID #:77

                                                                 Sunday, August 25, 2019 at 7:48:22 PM Pacific Daylight Time

  Subject:         FW: Mario Velazquez
  Date:            Thursday, August 15, 2019 at 11:04:11 AM Pacific Daylight Time
  From:            Dokko, Ted
  To:              Scott Holland
  CC:              David Oberg, Cain, Patrick, Albanese, Jack B.
  Attachments: imagea8002f.JPG, G500-G600.xlsx, Actual_vs_Standards_-_Eastidsx, ❑emand - Part Number -
               Raw Material - WIP.xlsx, Special - East OTD%.xlsx, TAS DASHBOARD.xlsx, WIP Aging Report.xlsx,
               Revenue Meeting 1.31.19.pptx




  Theodore H. Dokko
  Counsel


  P I 213-358-7226                                                                           IMOI ■
                                                                                            PM
  f I 213-358-7326
  e I tdokko@sgrlaw.com
                                                                                            AnMt II10
  444 South Flower Street I Suite 1700 I Los Angeles. CA 90071                          S ITH.GAMBRELL
  www.sgrlaw.com I My Bio I vCard                                                          RUSSELL LIP



 From: Shiraz Simonian <shiraz@simonianlawfirm.com>
 Sent: Thursday, August 15, 2019 9:35 AM
 To: Cain, Patrick <pcain@sgrlaw.com>
 Cc: Dokko, Ted <TDokko@sgrlaw.com>; David Oberg <doberg@alatusaero.com>
 Subject: Fwd: Mario Velazquez


        CAUTION: This email is from an external source. tloo not click links or attachments unless it's from a verified sender.


  Good morning Patrick,

  Attached are copies of all files in Mr. Velazquez's possession in response to your letter dated August 8,
  2019. Thus, my client will not and cannot return any additional documents/files. Please note that your
  client also has possession of these files. Every single one of these documents was created by Mr.
  Velazquez during his employment with Alatus. Mr. Velazquez has zero use for any of these files
  outside of Alatus. He has also agreed to delete every trace of these files from his computer. These files
  are being sent with the understanding that Mr. Velazquez denies any wrongdoing on his part.

  I am once again following up on the status of the settlement agreement, the terms of which we agreed to
  on July 3, 2019 (over a month ago). Please provide a draft copy no later than tomorrow, July 16.
  Otherwise, I will have no choice but to assume your client is no longer interested in the settlement, and
  we'll proceed accordingly.


                                                                                                                                  Page 1 of 2
Case 8:19-cv-01869-PSG-JDE Document 6-2 Filed 09/30/19 Page 15 of 15 Page ID #:78



  Thanks,

  Shiraz Simonian, Esq.
 Simonian & Simonian, PLC
 144 N. Glendale Ave., Suite 228
 Glendale, CA 91206
 Tel: 818-405-0080 ext. 101
 Fax: 818-405-0082
 E: shiraz@simonianlawfirm.com
 www.simonianlawfirm.corn




 CONFIDENTIALITY NOTE• The information contained in this transmission may be privileged and confidential, and is intended only for the use of the
 individual or entity named above. If the reader of this message is not le intended recipient, you are hereby notified that any dissemination, distribution
 or copying of this communication is strictly prohibited. If you have received this transmission in error, please immediately reply to the sender that you
 have received this communication in error and then delete it. Thank you.




 Confidentiality Notice
 This message is being sent by or on behalf of a lawyer. It is intended exclusively for the individual or entity to which it is addressed. This communication may contain
 information that is proprietary, privileged or confidential or otherwise legally exempt from disclosure If you are not the named addressee, you are not authorized to
 read, print, retain, copy or disseminate this message or any part of it. If you have received this message in error, please notify the sender immediately by e-mail and
 delete all copies of the message.




                                                                                                                                                                      Page 2 of 2
